,_ oriewom<ol/zoos) Case: 1:10-cv-05063 Document #: 74 Filed: 02/21/12 Page 1 of 2 Page|D #:1462
v United States District Court, Northern District of Illinois Q\M

 

 

 

 

 

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CASE NUMBER ‘ 10 C 5063 DATE 2/21/2012
CASE Mannix vs. Humer et al.
TITLE

 

 

Plaintiff’s motion to proceed in forma pauperis [66] is denied because the appeal is not taken in good faith.
Plaintiff’s motion for an extension [65] is denied as moot because the deadline to file a notice of appeal in the

district clerk’s office has not passed.

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-[ For further details see text below.] D°°keti"g to mail notices'

 

 

 
  

 

 

STATEMENT

 

 

Before the court are Plaintiff Sheila Mannix’s motions to appeal in forma pauperis and for an
extension to file a notice of appeal.

Under the Federal Rules of Appellate Procedure, “[a] party who was permitted to proceed in fortna
pauperis in the district-court action . . . may proceed on appeal in forma pauperis without further
authorization.” Fed. R. App. P. 24(a)(3). This court on September 15, 2010, granted Plaintiff’s motion to
proceed in forma pauperis. Plaintiff, however, may proceed in forma pauperis unless this court “certifies that
the appeal is not taken in good faith.” Fed. R. App. P. 24(a)(3)(A). Plaintiff apparently seeks to appeal denial
of a Rule 60(b) motion in which the court found her litigation “frivolous.” The court admonished Plaintiff for
“abusive invective” including attacks on the integrity of state and federal judges, warning that sanctions could
be imposed. Plaintiff’s claims for relief are “insane complaints” advanced in bad faith because no reasonable
person could suppose them to have merit. Lee v. Clinton, 209 F.3d 1025, 1026 (7th Cir. 2000). For example,
Plaintiff asserts theories of liability involving allusions to the mafia, Nazis, Orrin Hatch, the Secret Service,
the Justices of the Supreme Court, Patti Blagoj evich, and Joe Paterno. She even discusses whether a high-
profile United States Attomey is a pedophile.

In reality, Plaintiff’ s lawsuits-she has filed at least six pro se complaints in this district-arise out of
a custody dispute with a former spouse. Mannix v. Hummer, 10 C 5063, 2011 WL 116888, at *1 (N.D. Ill.
Jan. 11, 2011); B alj Mannix v. Madigan, No. 09-103, slip op. at 2 (N.D. Ill. Feb. 25, 2009) (“[The
lawsuit] obviously stemmed from a protracted and bitter domestic relations dispute with her ex-husband
Daniel Sheetz, Sr., [and] was a sprawling effort that charged no fewer than 60 defendants with a conspiracy
against her.”)). For the foregoing reasons and others stated in this court’s January 18, 2012 opinion denying
the Rule 60(b) motion, the court finds and certifies pursuant to Rule 24(a)(3)(A) that Plaintiff’ s appeal is not
taken in good faith. The motion to proceed in forma pauperis is denied.

Plaintiff also seeks an “extension of time for good cause to file appeal pursuant to Federal Rule of
Appellate Procedure 4(5)(A)(ii).” At first blush, Plaintiff has not missed any deadlines She has thirty days

 

 

 

 

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from this court’s order denying her 5 9(e) motion, which was entered February 3, 2012, to file with the district
clerk a notice of appeal. Fed. R. App. P. 4(a)(1)(A), (4)(A)(iv). Her Rule 59(e) motion attacked the court’s
order denying a Rule 60(b) motion, which was entered January 24, 2012, also fewer than thirty days ago.

The court recognizes the Rule 59(e) motion attacked a Rule 60(b) motion filed January 6, 2012, nearly
a year after the original January 13, 2011 judgment order. This is an unorthodox but not necessarily improper
mode of extending the time to file a notice of appeal~at least as to the Rule 60(b) motion denial. § United

States v. Mercedes-Benz 2000 Model S400, 84 F. App’x 652, 654 (7th Cir. 2003) (citing Berwick Grain Co.
v. Ill. Dep’t of Agric., 189 F.3d 556, 558 (7th Cir. 1999)) (“Rule 59(e) may be used to alter or amend an order

denying a Rule 60(b) motion, which is itself a final and appealable decision.”); b_ut c_f. Borrero v. Cig; of Chi.,
456 F.3d 698, 701-02 (7th Cir. 2006); Abbs v. Sullivan, 963 F.2d 918, 924-25 (7th Cir. 1992). Accordingly,
her motion as to an extension to file a notice of appeal of the Rule 60(b) order is denied as moot. Plaintiff
still has time to file a notice of appeal pursuant to Federal Rule of Appellate Procedure 3.

But as to Plaintiff’ s motion for an extension to file a notice of appeal of the original January 13, 2011
judgment, Federal Rule of Appellate Procedure 4(a)(5)-(6) deprives this court of discretion to grant such an

extension. Whether to grant an appeal by permission is within the discretion of the court of appeals. Fed. R.

App. P. 5. Plaintiff’ s motion for an extension of time to appeal the original judgment is denied.
iT is so oRDERED. '

 

 

 

 

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